JS 44 (Rev. 04/21)       Case 3:23-cv-00374-DPJ-ASH
                                              CIVIL COVER    1-13 Filed3:23-cv-374-DPJ-FKB
                                                    DocumentSHEET      06/12/23 Page 1 of 1
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                    DEFENDANTS
       MICHAEL C. JENKINS                                                                            RANKIN COUNTY, SHERIFF BRYAN BAILEY, HUNTER
       EDDIE T. PARKER                                                                               ELWARD, CHRISTIAN DEADMON, BRETT MC'ALPIN
   (b) County of Residence of First Listed Plaintiff          RANKIN COUNTY                          County of Residence of First Listed Defendant RANKIN COUNTY
                            (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                     NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)           Attorneys (If Known)
       TRENT WALKER, Esq. The Law Offices of Trent Walker
       M.S.B. #10475
       5245 Keele Street Suite A Jackson, Mississippi
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)    III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                  (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government            ✖ 3   Federal Question                                                                   PTF        DEF                                         PTF      DEF
         Plaintiff                        (U.S. Government Not a Party)                     Citizen of This State          ✖ 1        ✖ 1      Incorporated or Principal Place         4     4
                                                                                                                                                 of Business In This State

  2    U.S. Government              4   Diversity                                           Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                        (Indicate Citizenship of Parties in Item III)                                                          of Business In Another State

                                                                                            Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                              Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                               Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                            TORTS                           FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                  PERSONAL INJURY                   PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                     310 Airplane                     365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                 315 Airplane Product                 Product Liability        690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument           Liability                   367 Health Care/                                                    INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment ✖ 320 Assault, Libel &                  Pharmaceutical                                                PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment       Slander                         Personal Injury                                               820 Copyrights                    430 Banks and Banking
  151 Medicare Act               330 Federal Employers’               Product Liability                                             830 Patent                        450 Commerce
  152 Recovery of Defaulted           Liability                   368 Asbestos Personal                                             835 Patent - Abbreviated          460 Deportation
       Student Loans             340 Marine                           Injury Product                                                    New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)       345 Marine Product                   Liability                                                     840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment         Liability                  PERSONAL PROPERTY                      LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits      350 Motor Vehicle                370 Other Fraud              710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits        355 Motor Vehicle                371 Truth in Lending             Act                                                                485 Telephone Consumer
  190 Other Contract                 Product Liability            380 Other Personal           720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability 360 Other Personal                   Property Damage              Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                      Injury                       385 Property Damage          740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                 362 Personal Injury -                Product Liability        751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                     Medical Malpractice                                           Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                CIVIL RIGHTS                  PRISONER PETITIONS            790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation          440 Other Civil Rights           Habeas Corpus:               791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                441 Voting                       463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment     442 Employment                   510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land              443 Housing/                         Sentence                                                           or Defendant)                896 Arbitration
  245 Tort Product Liability         Accommodations               530 General                                                       871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property    445 Amer. w/Disabilities -       535 Death Penalty                IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                     Employment                   Other:                       462 Naturalization Application                                             Agency Decision
                                 446 Amer. w/Disabilities -       540 Mandamus & Other         465 Other Immigration                                                  950 Constitutionality of
                                     Other                        550 Civil Rights                 Actions                                                                State Statutes
                                 448 Education                    555 Prison Condition
                                                                  560 Civil Detainee -
                                                                      Conditions of
                                                                      Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖ 1    Original          2 Removed from                  3     Remanded from              4 Reinstated or             5 Transferred from       6 Multidistrict                    8 Multidistrict
       Proceeding          State Court                         Appellate Court              Reopened                    Another District           Litigation -                     Litigation -
                                                                                                                        (specify)                  Transfer                         Direct File
                                    Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                    42 U.S.C. § 1983; 42 U.S.C. § 1981
VI. CAUSE OF ACTION Brief description of cause:
                                    ACTION FOR DEPRIVATION OF CIVIL RIGHT UNDER THE COLOR OF LAW
VII. REQUESTED IN                        CHECK IF THIS IS A CLASS ACTION                       DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                          UNDER RULE 23, F.R.Cv.P.                              $400,000,000                                JURY DEMAND:                    Yes           No
VIII. RELATED CASE(S)
                                        (See instructions):
      IF ANY                                                    JUDGE                                                               DOCKET NUMBER
DATE                                                              SIGNATURE OF ATTORNEY OF RECORD
06/12/2023                                                        /s/TRENT WALKER/S/ ESQ
FOR OFFICE USE ONLY

  RECEIPT #                  AMOUNT                                    APPLYING IFP                                   JUDGE                           MAG. JUDGE

          AMSSDC-5136025
